‘ Case 8:19-bk-00132-RCT Doc 15 Fide Mat 8!19 Page 1 of 23

 
 

8 2019

Fill in this information to identify your case and this filing IKRUPTCY COURT

   
  

om: Diane Leslie

Debtor 2

ICT OF FLORIDA
ampa DIVISION

Me fa a | hyn Spanned by AS

 

(Spouse, if filing) First Name Middle Name

iy
United States Bankruptcy Court for the: 32) of ea Flarid QL

cove numer _ SL 19- bK ~

 

C2 Check if this is an

 

Official Form 106A/B

 

amended filing

Schedule A/B: Property 1245

 

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. lf two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

FERRE vescrine Each Residence, Building, Land, or Other Real Estate You Own or Have an interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

W. Go to Part 2.
Yes. Where is the property?

1. 25 Hernandy Ave

Street address, if available, or other description

 

City State ZIP Code

Manatee

County

If you own or have more than one, list here:

B52 Hes 6

Street address, if available, or other description

 

Sarassta., F1.34243

Manatee

County

Wh the property? Check all that apply. Do not deduct secured claims or exemptions. Put
Single-family home the amount of any secured claims on Schedule D:
Q Duplex or multi-unit building Creditors Who Have Claims Secured by Property.
C Condominium or cooperative Current value of the Current value of the
(J Manufactured or mobile home entire property? portion you own?

Q) and s 159 431. 0s FE 0,460

(2 investment property L
(3 Timeshare Describe the nature of your ownership
interest (such as fee simple, tenancy by

 

 

OC) other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.

CI Debtor 1 onty

C Debtor 2 onty

(C2 pebtor 1 and Debtor 2 only LI Check if this is community property
Wn least one of the debtors and another (see instructions)

Other information you wish to add a is such as local
property identification number: ‘ ¢

eee Check all that apply. Do not deduct secured daims or exemptions. Put
Single-family home the amount of any secured claims on Schedule D:
D Duplex or multi-unit building Creditors Who Have Claims Secured by Property.
LJ Condominium or cooperative Current value of the Current value of the
(2 Manufactured or mobile home entire property? portion you own?

C) Lana slF5 ROY, 6G Bid 5 2OY

C2 investment property ' 5h
Describe the nature of your ownership
5 one interest (such as fee simple, tenancy by

the entireties, or a life estate), if known.

 

06 |

 

wm an interest in the property? Check one.
Debtor

1 only
() Debtor 2 only
(C) Debtor 1 and Debtor 2 only CD check if this is community property
() At least one of the debtors and another (see instructions)
Other information you wish to add al he local

property identification number: OBO 00)
 

1.3.

 
 

 

Street address, if available, or other description

 

 

City State ZIP Code

 

County

2. Add the doliar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. ............ cusses uenepeseeseeecansnassntnnaeetensuasoncusnssestusseneeasaesenstensns >

‘eiese Describe Your Vehicles

What is the property? Check all that apply.
Q Single-family home

C2 Duplex or multi-unit building

( Condominium or cooperative

(2 Manufactured or mobile home

2 Land

(J investment property

C} timeshare

(2 other

 

Who has an interest in the property? Check one.

() Debtor 1 only

(2 Debtor 2 only

CD Debtor 1 and Debtor 2 only

() At least one of the debtors and another

cc Fledouzane PovepOVh b K- / 32

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?
$ $

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

C) check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

 

$ ZQ25L04, 10

 

 

 

v

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

Q
Yes
3.1. Make: Che
Model:
Year:

Approximate mileage: Ll ¢ ¢ ZO

Other information:

if you own or have more than one, describe here:

3.2. Make:
Model:
Year:
Approximate mileage:

Other information:

Who

Debtor 1 only
(2 Debtor 2 only
(2 Debtor 4 and Debtor 2 only
(3 At least one of the debtors and another

UC check if this is community property (see
instructions)

Who has an interest in the property? Check one.

(3 Debtor 1 only

(2 Debtor 2 only

C) Debtor 1 and Debtor 2 only

(CD At least one of the debtors and another

Qi Check if this is community property (see
instructions)

s an interest in the property? Check one.

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own? |

s26000) + 25.00

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?
Debtor 1

3.3. Make:
Model:
Year:
Approximate mileage:
Other information:

3.4. Make:
Model:
Year:
Approximate mileage:
Other information:

 
 

Who has an interest in the property? Check one.

CQ Debtor 1 only

(2 Debtor 2 onty

CJ Debtor 1 and Debtor 2 only

QO] Atleast one of the debtors and another

CO) check if this is community property (see
instructions)

Who has an interest in the property? Check one.
C2 debtor 1 only

CD Debtor 2 only

(J Debtor 4 and Debtor 2 only

(2 At least one of the debtors and another

(J Check if this is community property (see
instructions)

p18 Fee etm 2 14- bK- 13.2

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
yn Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
No

So.

QO Yes

4.1. Make:
Model:
Year:

Other information:

If you own or have more than one, list here:

4.2, Make:
Model:
Year:

Other information:

Add the dollar vaiue of the portion you own for ali of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Who has an interest in the property? Check one.
(2 Debtor 4 only

Q] Debtor 2 only

(C2 Debtor 1 and Debtor 2 only

(2 At least one of the debtors and another

CI check if this is community property (see
instructions)

Who has an interest in the property? Check one.
(C2 Debtor 1 only

(2 Debtor 2 only

(C2 Debtor 1 and Debtor 2 only

Q At least one of the debtors and another

Ci Check if this is community property (see
instructions)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

 

5 b2500.00_

 

 

 
  
 

Fiat Describe Your Personal and Houschold items

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Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings

Examples: Major appliances, furniture, a i kitchenware
Oro el used ~
Yes. Describe.........
7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

We. Describe.......... Well Used

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
No

©) Yes. Describe..........

©

. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

No
C) Yes. Describe..........

10. Firearms
ne Pistols, rifles, shotguns, ammunition, and related equipment
No

CL] Yes. Describe..........

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

ae Describe.......... Ei very day C/o Thing

12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
2) No

Ga’ Yes. Describe...........

13. Non-farm animals
Examples: Dogs, cats, birds, horses

ne, Deserbe seceene Feral éals / well loved

44 al personal and household items you did not already list, including any health aids you did not list
No

t

C) Yes. Give specific
information. ..............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

s 250,00) _

5%

$ 4

 

 

 

 

 

 
wis Dane Tee MPA Pe = Metcaeane, PEI bK- 122

a 7
20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

Ove

C) Yes. Give specific Issuer name:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

information about
ee $
$
$
21. Retirement or pension accounts
Examples: interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
a
soscunt separately Type of account: institution name: f e fi e r enc ed! above
401(k) or similar plan: $
Pension plan: $
IRA: $
Retirement account: $
Keogh: $
Additional account $
Additional account: $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
wa
ee Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: 5
23. ‘aris (A contract for a periodic payment of money to you, either for life or for a number of years)
No
(ee Issuer name and description:
$
$

 

 
  
 

Debtor 1

lesa ae

Doc 15 Filed 01/28/19 Pag

Case number (# mown),

 

OIGE bR- 132

 

Do you own or have any legal or equitable interest in any of the following?

16.Cash

Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

CASH oe escssesseeseceeeee $ 0 LO

O

Yes

 

17. Deposits of money

Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,

and other similar institutions. If you have multiple accounts with the same institution, list each.

QO No
CD Yes. ee

17.1. Checking account:
17.2. Checking account:
17.3. Savings account:
17.4. Savings account:

17.5. Certificates of deposit:

17.6. Other financial account:

17.7. Other financial account:

Si suntrust
SI E

LN

 

 

Su LEO (

einegsl Coe

 

 

 

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

Sia! Biss
&

 

 

 

 

 

$
17.8. Other financial account: $
17.9. Other financial account: $
18. Bonds, mutual funds, or publicly traded stocks
ees: Bond funds, investment accounts with brokerage firms, money market accounts
No
CO Yes... Institution or issuer name:
$
$
$
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
Y.. partnership, and joint venture
No Name of entity: % of ownership:
C) Yes. Give specific 0% % $
information about 0%
them ° % $.
0% $

 

 
 
 

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 WS.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

No

Se institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

pilfpers® Mievueane, Posted BN Ja

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
i for your benefit
N

oO

C] Yes. Give specific
information about them....

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Exgfnples: intemet domain names, websites, proceeds from royalties and licensing agreements
No

C) Yes. Give specific
information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
No

(2 Yes. Give specific
information about them....

Money or property owed to you?

28. nn owed to you
No

Q] Yes. Give specific information
I:

about them, including whether Federal $.

you already filed the returns State: $

the tax o saneenveeteteerersaees
and the tax years. Local: $

29. Family support
ee Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
No

Cl Yes. Give specific information..............
Alimony:

Maintenance:
Support:
Divorce settlement:
Property setifement:
30. Other amounts someone owes you

Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else

Q
W ves. Give specific information............... SO a} al Security be. f tits

Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

AA Ff HF #

 
 

  

qIpes® rescue PapeneyK. 132

31. Interests in insurance policies
~ Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance
No

Q) Yes. Name the insurance company

" vw Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

 

 

 

32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
pro because someone has died.

No
(J Yes. Give specific information.............

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
ye Accidents, employment disputes, insurance claims, or rights to sue
No

C) Yes. Describe each AaiM. ........e.--

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights

Wn off claims
No

() Yes. Describe each claim. ................

35. Any incial assets you did not already list

No
U Yes. Give specific information............

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here »> $

 

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do Own or have any legal or equitable interest in any business-related property?
No. Go to Part 6.
U) Yes. Go to line 38.

Current value of the
portion you own?
Do not deduct secured claims
or exemptions.
38. nn, receivable or commissions you already earned
No
Q) Yes. Describe.......
$

39. Office ipment, furnishings, and supplies
aon computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
No

QO] Yes. Describe....... $

 

 
  
 

Debtor 1 Dt ne FE

First Name M

Doc 15 Filed 01/28/19 | Paget ee b K. 132

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

No
(2 Yes. Describe....... §
41. invept6ry
No
() Yes. Describe... $

42. nays in partnerships or joint ventures
No

(2 Yes. Describe.......

 

 

 

Name of entity: % of ownership:
% $
% $
% $

 

43, wee lists, mailing lists, or other compilations
No

(2 Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

TC No
C} Yes. Describe........

 

 

 

 

 

 

 

 

 

 

 

 

 

$
44. Any pdGiness-elated property you did not already list
No
(I Yes. Give specific $
information .........
$
$.
$
$.
$
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $
for Part 5. Write that number here >
rela an oy Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.
46.Do yguown or have any iegal or equitable interest in any farm- or commercial fishing-related property?
No. Go to Part 7.
C) Yes. Go to line 47.
Current value of the
portion you own?
Do not deduct secured claims
or exemptions.

47. Farm animals
a Livestock, poultry, farm-raised fish
No

i 7:

 

 

 
      
 
 
  

slips Pievowesne, PmpirEe) K- 132

48. yw growing or harvested

CJ Yes. Give specific -
information. ............ $

49. (apr ane fishing equipment, implements, machinery, fixtures, and tools of trade
No

 

 

 

 

 

 

 

CD Ves. eeccssssssssssseen
50. run fishing supplies, chemicals, and feed
No
ee
Any and commercial fishing-related property you did not already list
No
CJ Yes. Give specific
information. ............ $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ (/
for Part 6. Write that number here >
EERAE vescrine All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
a Season tickets, country club membership
No
C) Yes. Give specific §
information. ............ $
$
54. Add the dollar value of all of your entries from Part 7. Write that number here > $

 

 

 

 

List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 > sled 5, 204,00
56. Part 2: Total vehicles, line 5 s 2500.00

57. Part 3: Total personal and household items, line 15 $ [ 3 ¢ 7 e bi y)
58. Part 4: Total financial assets, line 36 $ { ¢ 3 CG F a O

 

59. Part 5: Total business-related property, line 45 $
60. Part 6: Total farm- and fishing-related property, line 52 $ —
61.Part 7: Total other property not listed, line 54 +S —

62. Total personal property. Add lines 56 through 61. ..............00+ $f g &4 4 é G o Copy personal property total > +*$ °

63. Total of all property on Schedule A/B. Add line 55 + line 62. o LSS IG? Gg 0

 

 

 

 

 

 
 

Case 8:19-bk-00132-RCT Doc15 Filed 01/28/19 Page 11 of 23

Fillin this information to identify your case:

Debtor 4

 

ist Name

Debtor 2

(Spouse, if filing) First Name Middle, Name Last Name
United States Bankruptcy Court for the: I lid ke District of { lt I da

Case number Es ig = b K<- IB2X CI Check if this is an

(if known) amended filing

 

 

Official Form 106C

 

Schedule C: The Property You Claim as Exempt 04/16

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a faw that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

identify the Property You Claim as Exempt

 

1. ~~... of exemptions are you claiming? Check one only, even if your spouse is filing with you.

You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
(2 You are claiming federal exemptions. ‘11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B

: ¢ . :

Soscription: Sid ONE ¢ 1Sq 12. Oa $_

Line from ‘ £ i ¢ ‘ (400% of fair market value, up to Pog nes.

Schedule A/B: [ ( L L nel any applicable statutory limit

Brief

description: $ Og

Line from (2 100% of fair market vatue, up to

Schedule A/B: ~~ any applicable statutory limit

Brief

description: © ———-——~—_—__——__ § Cig

Line from C2 100% of fair market value, up to

Schedule A/B: __. any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
Ye to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
No
(2 Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

QQ) No
Q Yes
 

 
 

re

poe ec oats veg eHeP- bk Je

 

 

Schedule A/B:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

~ Debtor 1
Part | Additional Page
Brief description of the property and line Current value ofthe Amount of the exemption you claim Specific laws that allow exemption
on Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule A/B
Brief
description: $ Os -
Line from (1 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from (3 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: 5. Os
Line from ( 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ O¢$
Line from CD 100% of fair market value, up to °
Schedule A/B: any applicable statutory limit
Brief “
description: $ Os¢
Line from QC} 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description; § ————-—_——_——_—_ § Os
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ O¢
Line from C2) 100% of fair market value, up to -
Schedule A/B: any applicable statutory limit
Brief
description; § ————__-——_ §. Os
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: § Os
Line from C} 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: a Os
Line from C) 100% of fair market value, upto
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from C} 100% of fair market value, up to

 

any applicable statutory limit

 
Case 8:19-bk-00132-RCT Doc15_ Filed 01/28/19

 

Page 13 of 23

 

Debtor 2

 

(Spouse, if filing) First Name Middle |

4

United States Bankruptcy Court for the,

Case number Oi 14 -hK- LIBR

(If known)

 

Last Name

©. District of Florida

(2) Check if this is an

 

Official Form 106D

 

Schedule D: Creditors Who Have Claims Secured by Property

amended filing

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

information. if more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
(Cl No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
GY Yes. Fill in all of the information below.

 

izlismi List All Secured Claims
Column A Column B Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately amount of claim Value of collateral Unsecured
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.5 not deduct the that supports this —_ portion
As much as possible, list the claims in alphabetical order according to the creditor's name. value of collateral. claim if any

[24] Describe the property that secures the claim:

Wg W572 sts

Number Street

“a5b Hernando Ave_ - single fami! y A ome

 

City State ZIP Code
Who owes the debt? Check one.
OQ Debtor 1 only
2) Debtor 2 only

QQ Debtor 1 and Debtor 2 only
LJ Atleast one of the debtors and another

C) Check if this claim relates to a
community debt
Date debt was incurred —

| 22)

 

Creditors Name

 

Number Street

 

 

City State ZIP Code

Who owes the debt? Check one.

(2 Debtor 4 onty

©) Debtor 2 onty

(2 Debtor 1 and Debtor 2 only

(2 Atleast one of the debtors and another

C) Check if this claim relates to a
community debt

Date debt was incurred ———

woes. eee ek] lee

 

As of the date you file, the claim is: Check ail that apply.

Q Contingent

LI Yaliquidated
Disputed

Nature of lien. Check ail that apply.

CJ An agreement you made (such as mortgage or secured
car loan)

() Statutory lien (such as tax lien, mechanic's lien)

(2 Judgment tien from a lawsuit

(J Other (including a right to offset)

Last 4 digits of account number __

Describe the property that secures the claim: $. $ $

As of the date you file, the claim is: Check ail that apply.

C2 contingent

UL) Untiquidated

( Disputed

Nature of lien. Check all that apply.

QO An agreement you made (such as mortgage or secured
car loan)

(2 Statutory lien (such as tax lien, mechanic's lien)

LJ Judgment lien from a lawsuit

(2 Other (including a right to offset)

Last 4 digits of account number

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case, 8:19-bk-OOf,g2-RCT,,Doc 15 Filed 01/28/19 Page 14 of 23
= 19-bK
Debtor 1 Case number (7 mown), §; / G - / B32
Additional Page nos slat ae "co ee C
After listing any entries on this page, number them beginning with 2.3, followed Do not deduct the, that supports this _ portion
by 2.4, and so forth. value of collateral. claim If any
Describe the property that secures the claim: $ $ $.
Creditors Name oon eee neni een
Number Street
As of the date you file, the claim is: Check ail that apply.
C1 Contingent
Gity Stale ZIP Code (J Unliquidated
O Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
(J Debtor 4 onty ( An agreement you made (such as mortgage or secured
(J Debtor 2 only car loan)
C) Pebtor 1 and Debtor 2 only (CJ Statutory tien (such as tax lien, mechanic's lien)
C Atieast one of the debtors and another () Judgment lien from a lawsuit
(other (including a right to offset)
Q) Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number
Cc] Describe the property that secures the claim: $ $ $
Creditors Name cea eee vious ewun even e we . .
Number Street ee Le ose agence aston Umno oo pain ee netomat Atonement oats Mevaeed gs peeeny ot samara pear te fo Sam tna a sont meagan more RR ne
As of the date you file, the claim is: Check ail that apply.
(J Contingent
CJ Untiquidated
City Siate ZIP Code 2 disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C1 Debtor 1 only ( An agreement you made (such as mortgage or secured
C) Debtor 2 only car Joan)
(2 Debtor 1 and Debtor 2 only (2 Statutory lien (such as tax lien, mechanic's lien)
() Atleast one of the debtors and another (Judgment lien from a lawsuit
CO Check if this claim relates to a CJ Other (including a right to offset)
community debt
Date debt was incurred Last 4 digits ofaccount number
CI Describe the property that secures the claim: 3 $ 3
Creditors Name - : os .
Number Street
“As of the date you file, the claim is: Check ail that apply.
(J Contingent
City State ZiPCode  () Unliquidated
CQ Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C2) Debtor 4 only (C) An agreement you made (such as mortgage or secured
(2 Debtor 2 only car loan)
(2 Debtor 1 and Debtor 2 only CQ) Statutory lien (such as tax lien, mechanic's lien)
(2 Atieast one of the debtors and another (Judgment tien from a lawsuit
(2 Other (including a right to offset)
() Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of accountnumber
Add the dollar value of your entries in Column A on this page. Write that number here: '$
M éhia fe tha lant anne mb venue Sam acted tha dallas watun bataln Seno all mannan I 1

 
 

Case 8:19-bk-00132-RCT Doc15 Filed 01/28/19 Page 15 of 23

Fillin this information to identify your case:

Check if this is:

 

(Spouse, if filing) First Name Middle Lest Name C) An amended filing
. Middle a Florida. CJ A supplement showing postpetition chapter 13
United Bankruptcy Court for the: District of expenses as of the following date:

Case number
(If known)

 

MM / DD/ YYYY

 

 

Official Form 106J
Schedule J: Your Expenses 12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 

la a Describe Your Household

 

1. Is this a joint case?

 

 

 

 

 

No. Go to line 2.
C] Yes. Does Debtor 2 live-in a separate household?
Q) No
O) Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents? CI No
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and LJ Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent.................c0 Soe mn ae ans ~ ana ~
, () No

Do not state the dependents Q

names. Yes
(2 No
CD Yes
) No
OC) Yes
2 No
( Yes
C) No
D Ves

3. Do your expenses include QO) No
expenses of people other than

yourself and your dependents? 41 Yes

fart 2: oe Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule I: Your income (Official Form 1061.) Your expenses

4. The rental or home ownership expenses for your residence. include first mortgage payments and . .
any rent for the ground or lot. 4. s 1399.95 _
If not included in line 4:
4a. Real estate taxes 4a,
4b. Property, homeowner's, or renter’s insurance 4b.
4c. Home maintenance, repair, and upkeep expenses Ac. $ / e :

4d. Homeowner's association or condominium dues 4d. $ WA
Case 8:19-bk-00132-RCT Doc15 Filed 01/28/19 Page 16 of 23

a es
Debtor 1 é

10.
11.

12.

13.
14.

15.

16.

17.

18.

19.

First Name Name Last

. Additional mortgage payments for your residence, such as home equity loans

, Utilities:

6a. Electricity, heat, natural gas

6b. Water, sewer, garbage collection

6c. Telephone, cell phone, Internet, satellite, and cable services
6d. Other. Specify:

 

. Food and housekeeping supplies

. Childcare and children’s education costs
. Clothing, laundry, and dry cleaning

Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books
Charitable contributions and religious donations

insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance

15b. Health insurance Med é Ca VEC

15c. Vehicle insurance

15d. Other insurance. Specify:

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

installment or lease payments:
17a. Car payments for Vehicle 1

17b. Car payments for Vehicle 2
17c, Other. Specify:
17d. Other. Specify:

 

 

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule |, Your income (Official Form 1061).

Other payments you make to support others who do not live with you.
Specify:

Other real property expenses not included in lines 4 or 5 of this form or on Schedule f: Your Income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

10.
11.

12.
13.
14.

15a.
15b.
15.
15d.

16.

17a.
17b.
17c.

17d.

18.

19.

20b.
20c.
20d.
20e.

Case number (# moun) Ov 19- bK-182_

Your expenses

$

$ 150.00
$ I OP 0

s_ 450.

rf Ff HF

rn Ff Ff f

 
 

Case 8:19-bk-00132-RCT Doc15 Filed 01/28/19 Page 17 of 23

se ‘ he). 2 | € Case number (mown) a /9- bkK- [G2

First Name Maile Last Name

21. Other. Specify: 21. $$

22. Calculate your monthly expenses.

22a. Add lines 4 through 21. 22a. | ¢ 00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b. $
22c. Add line 22a and 22b. The result is your monthly expenses. 2c. ¢ xB ode? C0
23. Calculate your monthly net income. ; ,
23a. Copy line 12 (your combined monthly income) from Schedule |. 23a. s_ F2P00
23b. Copy your monthly expenses from line 22c above. 23b. ¢ FZ ad

 

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income. 23e.

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
_ payment to increase or decrease because of a modification to the terms of your mortgage?
No.

*

Ql yes. — Explain here:

 
 

Case 8:19-bk-00132-RCT Doc15 Filed 01/28/19 Page 18 of 23

Fill in this information to identify your case:

 

(Spouse, if filing) First Name

United States Bankquptey Court for the: see Midd lena of Fbnida

Case number ‘
(if known)

QC) Check if this is an

 

 

 

amended filing

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 42/15

 

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

No
Q Yes. Name of person , Attach Bankruptcy Petition Preparer's Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

x x

ighature of Debtor 1 Signature of Debtor 2

Date /7 Date
MM// DD / MM/ DD / YYYY

 
» Case 8:19-bk-00132-RCT Doc15 Filed 01/28/19 Page 19 of 23

Fill in this information to identify your case

‘4
First Name

Debtor 2
(Spouse, if filing) First Name

 

United States Bankruptcy Court for the;

case rumor § 19 ~h . O) Check if this is an
(If known) amended filing

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 is

If you are an individual filing under chapter 7, you must fill out this form if:

@ creditors have claims secured by your property, or

m you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must alse send copies to the creditors and lessors you list on the form.

tf two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possibile. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

 

Zien List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the

information below.
identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditor’s | /
cote Zonk oF MeulleK Mellon emeertemre 2,
() Retain the property and redeem it. Yes
Description of Who

. ‘ . Retain the property and enter into a
epeuing debt: My / e ta /N ( iy horn C Reaffirmation Agreement.

etain the property and [explain]: bolita

 

 

 

Creditor s CQ) surrender the property. CI No
name:
(Q) Retain the property and redeem it. Yes
propery. on of (2 Retain the property and enter into a
securing debt: Reaffirmation Agreement.

LJ Retain the property and [explain]:
Creditor 8 (2) Surrender the property. (No
name:

- () Retain the property and redeem it. Q Yes

oropalby on of () Retain the property and enter into a
securing debt: Reaffirmation Agreement.

C) Retain the property and [explain]:
Creditor’s C) Surrender the property. CINo
name:

C2) Retain the property and redeem it. () Yes
Description of . .
property ©) Retain the property and enter into a

securing debt: Reaffirmation Agreement.
. C) Retain the property and [explain]:

 
 

me Case 8:19-bk-00132-RGT Dagc15 Filed 01/28/19 Page 20 of 23

Case number (if known) S 19-bk- [BQ

 

List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

Describe your unexpired personal property leases Will the lease be assumed?
Lessor’s name: O No
Description of leased C1 Yes
property:

Lessor’s name: ONo

Description of leased OYes

property:

Lessor’s name: No

Description of leased Q) Yes

property:

Lessor’s name: QO No
O) yes

Description of leased

property:

Lessor’s name: QINo
Ol Yes

Description of leased

property:

Lessor’s name: OINo
C) Yes

Description of leased

property:

Lessor’s name: ONo
C) Yes

Description of leased
property:

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

 

x

Signature of Debtor 2

 

 

Date Date
MM/ DD / YYYY MM/ DD/ YYYY
Check one box only as directed in this form and in

Form 122A-1Supp:

 

Debtor 1

First Name

(2 1. There is no presumption of abuse.
Debtor 2

(Spouse, if fling) First Name {J 2. The calculation to determine if a presumption of
abuse applies will be made under Chapter 7

United States Bankruptcy Court for the: Midd ke District of Flectda Means Test Calculation (Official Form 122A-2).

Case number Sa | q ~h K - | Gexk C) 3. The Means Test does not apply now because of

(If known) qualified military service but it could apply later.

 

 

 

 

 

C) Check if this is an amended filing

Official Form 122A—1
Chapter 7 Statement of Your Current Monthly Income 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

BEE cotcutate Your Current Monthly Income

1. What is your marital and filing status? Check one only.
Not married. Fill out Column A, lines 2-11.
(3 Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

 

 

(J Married and your spouse Is NOT filing with you. You and your spouse are:
Q Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

QO Living separately or are legaily separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penaity of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7){B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. If you have nothing to report for any line, write $0 in the space.

Column A Column B
Debtor 4 Debtor 2 or
non-filing spouse
2. Your gross wages, salary, tips, bonuses, overtime, a and commissions - 4
(before all payroll deductions). sDabo00 $

3. Alimony and maintenance payments. Do not include payments from a spouse if
Column B is filled in. $e 5.

4, All amounts from any source which are regularly paid for household expenses
of you or your dependents, Including child support. Include regular contributions
from an unmarried partner, members of your household, your dependents, parents, ;
and roommates. Include regular contributions from a spouse only if Column B is not HOO 00
filled in. Do not include payments you listed on line 3. $ §

5. Net Income from operating a business, profession, Debtor 4 Debtor 2

 

 

 

 

 

or farm

Gross receipts (before all deductions) f=

Ordinary and necessary operating expenses ~—$ -$

Net monthly income from a business, profession, or farm  ¢ $ roPys, $ $
6. Net income from rental and other real property Debtor 1 Debtor 2

Gross receipts (before all deductions) {=—

Ordinary and necessary operating expenses ~§ ~- $

Net monthly income from rental or other real property $ $ roPyy, $

7. Interest, dividends, and royalties $ $

 
 

Case 8:19-bk-00132-RCT Doc15 Filed 01/28/19 Page 22 of 23

| commun S219 - bK-1B2

‘ Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

  

8. Unemployment compensation $cc $

Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. Instead, list it here? 0... ese

For you $_
For your spouse. $

 

 

 

9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. $ $

10. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism. If necessary, list other sources on a separate page and put the total below.

 

 

 

 

 

 

 

 

 

 

$
se $
Total amounts from separate pages, if any. +¢ +$
11. Calculate your total current monthly income. Add lines 2 through 10 for each . 0 -
column. Then add the total for Column A to the total for Column B. $ G fh ; é + $ ™ 2 Je Ow
Total current
monthly income
Ga Determine Whether the Means Test Applies to You
12. Calculate your current monthly Income for the year. Follow these steps: / |
12a. Copy your total current monthly income from line 11. Copy line 11 here> $ G2E GO
Multiply by 12 (the number of months in a year). x 12
12b. The result is your annual income for this part of the form. 42b. sLl13G- 60
13. Calculate the median family income that applies to you. Follow these steps:
Fill in the state in which you live.
Fill in the number of people in your household. )
Fill in the median family income for your state and size of household. 13, $

 

 

 

 

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk’s office.

14. How do the lines compare?

14a. (Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3.

14b. L) Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 122A~2.

By signing here, | declare under penalty of perjury that the information on this statement and in any attachments is true and correct.
¥ J

x y

     
 

 

f et x
Signfture of Debtor 1 Signature of Debtor 2

oe (1125) 4 Date
MM/ DD MM/ DD /YYYY

if you checked line 14a, do NOT fill out or file Form 122A—2.
If you checked line 14b, fill out Form 122A—2 and file it with this form.

 
 

 

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